         Case 2:18-cr-00422-DJH Document 202-1 Filed 06/28/18 Page 1 of 3



                           PICCARRETA DAMS KEENAN FIDEL PC
                                                    LAWYERS


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 Dominic Lanza(Dominic.Lanza{a7usdoj~ov)
 Kevin Rapp (Kevin.Rapp(a,usdo~~ov)
 United States Attorney's Office
 Two Renaissance Square
 40 N. Central Avenue, Ste. 1200
 Phoenix, AZ 85004-4408

         Re:     United States v. Lacey, et al.

 Dear Dom and Kevin:

          I have been asked by the defendants to request early production by the government of the
 following categories of documents as soon as possible so that they can be made part of the record in
 regards to the government's motion for disqualification. These requested docwnents, which are attached
 to this letter, are necessary in order to properly prepare the response and also prepare whatever related
 motions need to be filed and heard with the government's motion. I would hope that we could receive
 some or all of whatever records can be gathered together as quickly as possible.

         I am willing to modify my request for ease of production or clarify it if you have any questions.




  MLP:mh
  Enclosure
  cc:    Tom Bienert(via email: tbienert(a),bmkattorneys.com}
         Paul Cambria {via email: pcambria,~n,lglaw.coin)
         Bruce Feder(via email: bfnci,federlawpa.com; fl cr,federlawPa.com)
         Mike Kimerer (via email: mclk(a~kimerer.com)
         Gary Lincenberg (via email: ~a,sl~,birdmarella.conn)
         KC Maxwell(via email: kmaxwellnb~xfzm.com)
         Steve Weiss(via email: sweiss(a~,karpweiss.com)
      Case 2:18-cr-00422-DJH Document 202-1 Filed 06/28/18 Page 2 of 3




                                 LIST OF DOCUMENTS

       1.     All communications between the USAO or any other governmental law
enforcement authorities and Cari Ferrer or his counsel concerning DWT's representation
of any Backpage parties (this and all of the following requests include any and all
communications between Carl Ferrer, his counsel, or any other government
representative),

       2.     All documents including engagement letters, common interest or joint
defense agreements or related communications among counsel, parties or others related to
joint representation or defense of Backpage parties that have been provided to the
government by Mr. Ferrer or his counsel.

       3.     All communications with Mr. Ferrer or his counsel about representation or
putative conflicts of counsel, including all correspondence that has been received from
April 5, 2018, onward.

       4.      Any documents that reflect the date upon which Mr. Ferrer's counsel first
had communications with the government related to possible cooperation or with the
intention of exploring possible cooperation.

       5.     All correspondence, documents, writings, tangible or electronic, that were
provided by the law firm of Clarence Dyer &Cohen {CDC)to any representative of the
government in relation to the criminal and civil resolution of the legal issues relating to
Carl Ferrer, Backpage, or any of its related entities.

        6.      Any correspondence, documents, writings, tangible ar electronic, that were
provided to any govermnent representatives by the law arm of CDC in relation to the
criminal and civil resolution of the legal issues relating to Carl Ferrer, Backpage, or any of
its related entities.

       7.     All reports, FBI Form 302s, or other memoranda prepared by the USAO or
any federal law enforcement agency relating to information provided by Carl ~errer or his
legal counsel to the government relating to the entering of a negotiated civil and/or criminal
agreement or provided to the government subsequent to entering into a plea agreement.

       8.     All written agreements between Carl Ferrer, Backpage,or any related entities
and the government, or any of its cooperating governmental entities relating to the
investigation of Mr. Ferrer, Backpage or any of its related entities that have not previously
been provided.

       9.     Any notes, memoranda, or summaries of any oral conversafiions or telephone
calls between any representative ofthe government and any representatives of CDC or Carl
      Case 2:18-cr-00422-DJH Document 202-1 Filed 06/28/18 Page 3 of 3




Ferrer related to the negotiated civil and/or criminal resolution of the legal issues relating
to Carl Ferrer, Backpage, ar any of its related entities, whether prior or subsequent to the
negotiated resolution of these matters.

       10. Copies of any tapes or electronic memorialization of any conversations,
interviews, discussions with the law firm of CDC or Carl Ferrer related to the negotiated
resolution of the case or subsequent to the negotiated resolution ofthe case.

       1 1. Any written or recorded statements or testimony provided by Carl Ferrer
about the operations of Backpage, or any of its related entities, or any of the defendants.

       12. All communications with the USAO or any other government authorities to
and from lawyers representing plaintiffs in litigation against Backpage, its employees, or
related entities.
